          Case 1:18-cr-00028-EGS Document 40 Filed 11/13/18 Page 1 of 2
 


                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA,

         v.
                                                             Case No. 18-cr-00028 (EGS)
    JARRELL HARRIS,


                Defendant.


                                      NOTICE OF FILING

        The District of Columbia Department of Corrections (DOC) responds to the Court’s

October 19, 2018 Minute Order, which directed DOC “to file the finalized Moss Group Report,

with justifications for any redactions, by no later than November 9, 2018.”

        Attached is the final report from The Moss Group (TMG Report), containing DOC’s

minimal redactions necessary to preserve safety, security and order, including the redaction of

information identifying databases, methods of transmission of detention and release documents,

and the language in those documents. The redactions were made to protect against hacking, release

simulations, and other forms of interference, disruption, and manipulation in the release process.

For example, information in the TMG Report detailing the technical aspects of the release process

is redacted to prevent third parties from attempting to interfere in the process or cause an untimely

release. In addition, the disclosure of technical details of DOC’s inmate intake and release process

could enable unauthorized individuals to access the process and threaten the security and safety of

the inmates and staff. No redactions were made for deliberative-process privileged information.

Dated: November 9, 2018.            Respectfully submitted,

                                    KARL A. RACINE
                                    Attorney General for the District of Columbia


 
    Case 1:18-cr-00028-EGS Document 40 Filed 11/13/18 Page 2 of 2
 



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